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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
                           NEW ORLEANS DIVISION

IN RE:       FEMA TRAILER                    *   MDL NO. 1873
             FORMALDEHYDE PRODUCTS *
             LIABILITY LITIGATION            *   SECTION “N” (5)
                                             *
                                             *   JUDGE ENGELHARDT
                                             *   MAGISTRATE CHASEZ
                                             *
THIS DOCUMENT PERTAINS TO                    *
                                             *
CIVIL CASE NOS. 09-7792, 09-7793, 09-7794, *
09-7795, 09-7796, 09-7797, 09-7798, 09-7799, *
09-7800, 09-7801, 09-7802, 09-7803, 09-7804, *
09-7805, 09-7806, 09-7807, 09-7808, 09-7809, *
09-7810, 09-7811, 09-7812, 09-7813, 09-7814, *
09-7815, 09-7816, 09-7817, 09-7818, 09-7819, *
09-7820, 09-7821, 09-7822, 09-7823, 09-7824, *
09-7825, 09-7826, 09-7827, 09-7828, 09-7829, *
09-7830, 09-7831, 09-7832, 09-7833, 09-7834, *
09-7835, 09-7836, 09-7837, 09-7838, 09-7839, *
09-7840, 09-7841, 09-7842, 09-7843, 09-7844, *
09-7845, 09-7846, 09-7847, 09-7848, 09-7849, *
09-7850, 09-7851, 09-7852, 09-7853, 09-7854, *
09-7855, 09-7856, 09-7857, 09-7858, 09-7859, *
09-7887, 09-7889, 09-7890, 09-7891, 09-7892, *
09-7893, 09-7894, 09-7895, 09-7896, 09-7897, *
09-7898, 09-7899, 09-7903, 09-7904, 09-7905, *
09-7906, 09-7907, 09-7908, 09-7909, 09-7910, *
09-7911, 09-7912, 09-7913, 09-7914, 09-7916, *
09-7917, 09-7918, 09-7919, 09-7920, 09-7921, *
09-7922, 09-7924, 09-7925, 09-7960, 09-7961, *
09-7962, 09-7963, 09-7964, 09-7965, 09-7966, *
09-7967, 09-7971, 09-7972, 09-7973, 09-7974, *
09-7977, 09-7978, 09-7980, 09-7983, 09-7984, *
09-7987, 09-7990, 09-7991                    *

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           MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO
                 EXTEND TIME TO SERVE DEFENDANTS




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       NOW INTO COURT, through undersigned counsel, come Plaintiffs in the above-

referenced civil action numbers, who respectfully submit to this Court a Motion to

Extend Time to Serve Defendants.

       1.      Plaintiffs’ complaints in the above-referenced civil action numbers were

originally filed in the Eastern District of Louisiana on or about December 23, 2009.

       2.      Plaintiffs’ complaints were all matched by manufacturer but not

necessarily by contractor/installer defendants. In January of 2010, the office of the

undersigned was notified of the deficiency by the Clerk’s office and was told to correct

same by filing supplemental exhibit(s) matching each client to a contractor/installer. On

or about May 14, 2010, Plaintiffs filed supplemental exhibits for approximately twenty-

three (23) of the above-complaints (09-7896; 09-7887; 09-7895; 09-7899; 09-7815; 09-

7911; 09-7893; 09-7904; 09-7822; 09-7918; 09-7919; 09-7830; 09-7890; 09-7859; 09-

7835; 09-7924; 09-7925; 09-7892; 09-7980; 09-7824; 09-7855; 09-7841; 09-7837).

However, some complaints still contain plaintiffs which are not matched to a

contractor/installer.   The undersigned continues to attempt to correctly match these

clients to a contractor/installer.

       3.      Plaintiffs are in the process serving all “matched” complaints.

       4.      On or about April 5, 2010, Plaintiffs filed a Motion to Extend Time to Serve

Defendants (Rec. Doc. 13198).        On or about April 21, 2010, Plaintiff’s motion was

granted allowing Plaintiffs until June 21, 2010 to perfect service on all Defendants (Rec.

Doc. 13462).

         5.    Plaintiffs would request additional time to perfect serve on all Defendants

in the above-referenced civil action numbers. Plaintiffs request an additional sixty (60)




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day extension to serve Defendants in above-referenced civil action numbers. Plaintiffs

ask the Court to extend the deadline until August 20, 2010.

        6.    The Court may grant a request to extend time for good cause.

Fed.R.Civ.P. 6(b)(1)(A).   There are no pending settings that would be delayed or

affected as a result of the requested extension. Plaintiffs’ request to extend time is for

good cause and is not intended to delay these proceedings.             See Fed.R.Civ.P.

6(b)(1)(A).

       WHEREFORE PREMISES CONSIDERED Plaintiffs respectfully move this Court

to extend the deadline by sixty (60) days to perfect service on all Defendants.

                                      Respectfully submitted,

                                      /s/ Robert C. Hilliard
                                      _____________________________
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                                     ATTORNEYS FOR PLAINTIFFS


                             CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading was served on all counsel
of record through electronic notification pursuant to the electronic filing in the United
States District Court for the Eastern District of Louisiana this 17th day of June, 2010.


                                         /s/ Robert C. Hilliard
                                         ____________________________
                                         ROBERT C. HILLIARD




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